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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

DAVID TOM,

                    Plaintiff,
                                                           Case No. 6:22-cv-01644-PGB-DAB
v

MODERN CONCEPTS CONSTRUCTION LLC,

           Defendant,
____________________________________/

                       NOTICE OF PENDENCY OF OTHER ACTIONS

        In accordance with Local Rule 1.07(c), Defendant, MODERN CONCEPTS

CONSTRUCTION, LLC (“Defendant”), hereby certify that the instant action:

    ______ IS                    related to pending or closed civil or criminal case(s) previously
                                 filed in this Court, or any other Federal or State court, or
                                 administrative agency as indicated below:

          X          IS          related to any pending or closed civil or criminal case filed with
 NOT                             this Court, or any other Federal or State court, or administrative
                                 agency.




              Defendant further certifies that it will serve a copy of this NOTICE OF

    PENDENCY OF OTHER ACTIONS upon each party no later than fourteen days

    after appearance of the party.

Dated: September 23, 2022.



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                                        /s/ John A. Schifino
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                                        Attorneys for Defendant




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of September, 2022, the foregoing Notice

of Removal was served via electronic mail and U.S. mail to the following:

David Tom
1058 Herne Ave NE
Palm Bay, FL 32907-1247
David.m.tom@gmail.com

                                                      /s/ John A. Schifino
                                                      John A. Schifino, Esq.




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                               EXHIBIT A




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